
USCA1 Opinion

	














                            United States Court of Appeals
                            United States Court of Appeals
                                For the First Circuit
                                For the First Circuit
                                 ____________________

        No. 96-2245

                                    BARBARA COSKA,
                                Plaintiff, Appellant,

                                          v.

                              UNITED STATES OF AMERICA,
                                 Defendant, Appellee.


                                 ____________________
                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS
                   [Hon. Douglas P. Woodlock, U.S. District Judge]
                                              ___________________

                                 ____________________

                                        Before
                               Torruella, Chief Judge,
                                          ___________

                            Bownes, Senior Circuit Judge,
                                    ____________________
                              and Lynch, Circuit Judge.
                                         _____________
                                 ____________________

            John B. Manning,  with whom Curtin, Murphy  &amp; O'Reilly,  P.C., was
            _______________             _________________________________
        on brief for appellant.
            Mary Elizabeth  Carmody, Assistant  United  States Attorney,  with
            _______________________
        whom  Donald  K.  Stern,  United States  Attorney,  was  on  brief for
              _________________
        appellee.


                                 ____________________

                                     May 29, 1997
                                 ____________________
























                      LYNCH, Circuit Judge.   Plaintiff-appellant Barbara
                      LYNCH, Circuit Judge
                             _____________

            Coska  brought  suit  against  the United  States  under  the

            Federal  Tort Claims  Act,  28 U.S.C.     2671 et  seq.,  for
                                                           __  ____

            injuries   she  sustained  in  a  slip-and-fall  accident  on

            government  property. Holding  that  Coska failed  to make  a

            proper  demand for a "sum certain"  against the United States

            within the prescribed two-year limitations period, the United

            States  district  court  dismissed  the action  for  lack  of

            subject matter jurisdiction and, in the  alternative, granted

            the defendant's motion for summary judgment.  We affirm.

                                          I.

                      Our  review  of the  allowance  of  the motions  to

            dismiss  and for summary judgment  is de novo.   See Borschow
                                                  __ ____    ___ ________

            Hosp.  &amp; Med. Supplies, Inc. v. Cesar Castillo, Inc., 96 F.3d
            ____________________________    ____________________

            10, 14 (1st Cir. 1996); Murphy v. United States, 45 F.3d 520,
                                    ______    _____________

            522 (1st Cir. 1995).  We recount the facts in  the light most

            favorable to Coska.   See Borschow Hosp. &amp; Med.  Supplies, 96
                                  ___ _______________________________

            F.3d at 14;  Murphy, 45 F.3d at 522.
                         ______

                      On  March 15,  1993, Coska  slipped and  fell while

            walking on an ice  and snow-covered sidewalk in front  of the

            building where she worked at 386 West Broadway, South Boston,

            Massachusetts.    Coska alleges  that she  suffered injuries,

            including a fractured ankle, as a result of the fall.    

                      At the time of the accident, the property was owned

            by  the  United States  through  the  United States  Marshals



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            Service.  The Marshals Service had  entered into a management

            contract with Barlou Management Company which required Barlou

            to  maintain the  property  and held  Barlou responsible  for

            removing any snow or debris from the parking area, sidewalks,

            and entrances to  the premises.  Barlou  then contracted with

            another company, Kevin Sutherland Landscaping ("Sutherland"),

            to handle the actual removal of any snow and debris.  

                      On April 13, 1993,  Coska's counsel sent letters to

            the  Marshals  Service  and  to  Barlou Management  regarding

            Coska's accident at 386 West Broadway.  In relevant part, the

            letter to the United States stated: 

                           Please be advised that  we represent
                      Ms. Barbara Coska, who  received personal
                      injuries as  a result of a  slip and fall
                      accident,  caused  by   the  failure   to
                      adequately clear the accumulation of snow
                      and  ice from  the  sidewalk  located  in
                      front of 386 West  Broadway . . . .   Ms.
                      Coska   sustained   a   fractured   ankle
                      (fractured  in  three  places),   and  is
                      currently in an ankle to hip length cast;
                      she may require surgery in the future.  A
                      claim for her damages resulting from this
                      accident is hereby made.  

            The  letter   to  Barlou  employed  the   same  language  but

            explicitly attributed the  failure to clear the snow  and ice

            from the sidewalk to the Barlou Management Company.1  Neither

            letter set forth the amount of damages being claimed. 

                                
            ____________________

            1.  That    letter   stated   in    relevant   part:   "Coska
            . . . received personal injuries  as a result  of a slip  and
            fall accident,  caused by Barlou Management  Co.'s failure to
                            __________________________________
            adequately  clear the accumulation  of snow and  ice from the
            sidewalk . . . ." (emphasis added).

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                      The Marshals Service  responded to Coska's  counsel

            by  letter dated June 7,  1993, advising her  that a claimant

            must submit  a claim for damages  in a "sum certain"  for any

            injury  allegedly caused  by the  incident before  the agency

            could  administratively  adjudicate  her  claim  for monetary

            damages.  The letter  enclosed a Standard Form 95  (Claim for

            Injury, Damage,  or Death)  (hereinafter "SF-95")  and stated

            that the form should be completed and returned along with all

            information  and  documentation  substantiating   the  claim.

            Coska never returned the requested form.  

                      Thirteen  months  later,  Barlou,  but  not  Coska,

            forwarded to  the United  States the  "demand packet"  it had

            earlier received from Coska's counsel.2  The 118-page packet,

            dated June 21, 1994, contained relevant information regarding

            Coska's  claim  against Barlou,  including  a  demand against

            Barlou in the amount of $225,000.  The letter included in the

            packet stated  that Barlou's  failure to clear  the entrances

            and sidewalks adjacent to 386 West Broadway was "the sole and
                                                                 ________

            proximate  cause  of  the plaintiff's  accident."   (emphasis
            ________________

            added).    The letter  contained  no  assertion of  liability

            against,  or  even  mention  of, the  United  States  or  the

            Marshals  Service.  At this point, Coska's counsel had yet to


                                
            ____________________

            2.  The  record  is unclear  as  to whether  Barlou  sent the
            packet on  its own initiative  or whether  the United  States
            requested it.    Regardless,  it  was  not  sent  by  Coska's
            counsel.

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            contact  the  United States  in response  to its  request for

            documentation of the claim and/or the SF-95.

                  Five  more months passed with  no word from  Coska.  On

            December 12, 1994, the Marshals Service sent a second  letter

            to Coska's counsel.   This letter "acknowledge[d] receipt" of

            the claim,  stated that "[i]n  this regard, the  Federal Tort

            Claims [sic]  was received by the  agency to administratively

            adjudicate the claim," and then cited to the FTCA.  

                      In  its  first  communication with  the  government

            since Coska's  initial letter sent almost  two years earlier,

            the law firm representing Coska sent a letter to the Marshals

            Service  dated February  14, 1995,  informing  the government

            that new attorneys from  the same firm would be  handling the

            case.   Counsel also asked  in this letter  whether the claim

            satisfied the notice requirements of 28 U.S.C.   2401 and the

            procedural  requirements  of  the  FTCA.    For  reasons  not

            disclosed  by the record,  counsel enclosed a  second copy of

            the  demand packet  sent to  Barlou "in  the event  that [the

            United  States  was]  missing any  information  [required] to

            fully evaluate the claim" and urged the government to contact

            them if it needed any additional information. 

                      About a month later,  the Marshals Service did just

            that.    A paralegal  assigned  to  the case  called  Coska's







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            counsel  and requested  a  demand for  a  sum certain.3    In

            response, Coska's counsel claimed  that they were waiting for

            additional medical bills  beyond those set out  in the demand

            packet to Barlou.   The paralegal then sent another  SF-95 to

            Coska's counsel, which was never returned.

                      The United  States sent  a third letter  to Coska's

            counsel  on  June 20,  1995, requesting  a  demand for  a sum

            certain and including yet another  SF-95 form.  The  Marshals

            Service apparently denied the claim by letter dated September

            15,  1995, having  received  no response  to these  requests.

            Coska says she did not receive the letter.

                      On December  18, 1995,  Coska brought suit  against

            the United  States alleging  negligence, breach  of contract,

            and breach of  warranty of habitability.4   The United States

            filed a motion to  dismiss and, in the alternative,  a motion

            for summary judgment.   The district court granted the motion

            to  dismiss, alternatively  characterizing it  as a  grant of

            summary judgment.    



                                         II.


                                
            ____________________

            3.  The call  was  either placed  in  late March  before  the
            statute of limitations had  run or in early April  just after
            the period expired. 

            4.  Similar claims  were brought against Barlou.   The United
            States filed a cross-claim against Barlou, who in  turn filed
            a  third party  complaint  against Sutherland  (snow  removal
            contractor). 

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                      As the recitation of facts demonstrates, before the

            expiration of  the limitations period, the  United States had

            made  one or  two specific  requests for  a sum  certain from

            Coska and  had sent her at least  one SF-95 form to complete.

            More  requests (with  accompanying  SF-95  forms)  were  made

            later.  The issue on appeal is whether Coska's two letters to

            the  government  and the  copy  of the  Barlou  demand packet

            included in the second of  those letters constitute a  notice

            of  claim against the United  States for a  sum certain under

            the FTCA.  We find that they do not.

                      Under  the FTCA,  a tort  claim against  the United

            States is  barred unless  it is  "properly presented"  to the

            agency within  two years  of its  accrual.  See  28 U.S.C.   
                                                        ___

            2401(b); Corte-Real v. United States,  949 F.2d 484, 485 (1st
                     __________    _____________

            Cir. 1991).   An  administrative claim is  properly presented

            when  it  includes, among  other  things, a  claim  for money

            damages in a sum  certain.  See 28 C.F.R.    14.2(a);5 Corte-
                                        ___                        ______

            Real, 949 F.2d at 485.  A timely filed sum certain claim is a
            ____


                                
            ____________________

            5.  28 C.F.R.   14.2(a) provides in pertinent part:
                           For purposes of the provisions of 28
                      U.S.C. 2401(b), 2672,  and 2675, a  claim
                      shall  be deemed  to have  been presented
                      when a  Federal  agency receives  from  a
                      claimant  . . . an executed Standard Form
                      95  or other  written notification  of an
                      incident,  accompanied  by  a  claim  for
                      money damages in a sum certain for injury
                      to or loss  of property, personal injury,
                      or  death  alleged  to  have  occurred by
                      reason of the incident . . . .

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            jurisdictional  prerequisite  for a  tort action  against the

            federal government.   Kokaras v. United States, 980  F.2d 20,
                                  _______    _____________

            22 (1st Cir. 1992) (citing cases). 

                      The purpose  of the  sum  certain requirement  goes

            beyond mere administrative convenience;  it is to apprise the

            government  of  its possible  liability  and  to provide  the

            government with notice "sufficient to allow it to investigate

            the  alleged  negligent episode  to  determine  if settlement

            would be in the best interests of all."  Corte-Real, 949 F.2d
                                                     __________

            at 486 (quoting  Lopez v.  United States, 758  F.2d 806,  809
                             _____     _____________

            (1st  Cir. 1985)).    Coska's letter,  which incorporated  by

            reference the  Barlou demand  packet, failed to  achieve this

            objective.   That packet  contained no information  about the

            liability of the United States nor did it state the amount of

            damages it would seek from the United States.  Indeed, by its

            own terms, the packet asserted a claim that Barlou was solely
                                                        ______

            liable.   As the  district court observed,  the demand packet

            against Barlou "is not  an appropriate substitute."  In  none

            of  the cases  Coska cites,  where this  court has  allowed a

            claim  to proceed despite  a dispute over  the fulfillment of

            the  sum certain  requirement, had  the plaintiff  completely

            failed  to  assert explicitly  a  damage  amount against  the

            United  States.  See, e.g.,  Kokaras, 980 F.2d  at 23; Corte-
                             ___  ____   _______                   ______

            Real,  949  F.2d  at  486-87;  Lopez,  758  F.2d 808-11;  cf.
            ____                           _____                      ___

            Santiago-Ramirez v.  Secretary of  the Dep't of  Defense, 984
            ________________     ___________________________________



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            F.2d at 17-20 (1st Cir. 1993).6  Thus, Coska's arguments fall

            short.7 

                      This need for  a specific sum certain  was not kept

            secret from Coska  in hopes of  defeating her claim.   To the

            contrary,  the  United  States  made  a  number  of  specific

            requests for the  sum certain.   All of  those requests  were

            ignored.




                                
            ____________________

            6.  Coska's reliance on the Ninth Circuit's decision in House
                                                                    _____
            v. Mine Safety Appliances Co., 573 F.2d 609, 615-16 (9th Cir.
               __________________________
            1978)  is also misplaced.  That case supports the notion that
            incorporation by reference can, on certain facts, satisfy the
            jurisdictional  requirement  of presenting  an administrative
            claim.    The  Ninth  Circuit  found  that  the  sum  certain
            requirement   had  not   been   met   because   neither   the
            incorporating nor the incorporated  documents set forth a sum
            certain  claim  of  damages   explicitly  applicable  to  the
            claimant(s).   See House,  573 F.2d  at 615-16,  overruled on
                           ___ _____                         ____________
            other  grounds  by  Warren  v.  United States  Dep't  of  the
            __________________  ______      _____________________________
            Interior, 724 F.2d 776 (9th Cir. 1984) (en  banc). Similarly,
            ________
            in  this case, Coska made  no "explicit[] link,"  id. at 616,
                                                              ___
            between  any demand against the  United States and the demand
            for a sum certain it asserted against Barlou.

            7.  The  government argues  that  Barlou and  Sutherland were
            independent  contractors, that  liability was  not joint  and
            several  as Coska asserts, and so that notice to Barlou could
            not  as a matter of law, provide notice to the United States.
            Therefore, the  United States  says, a demand  against Barlou
            could not be  a demand against the United States.   To decide
            this  case,  we  need   not  address  whether  Barlou  and/or
            Sutherland were  "independent contractors" and  thus were not
            joint and severally liable.   That the government is  able to
            make the argument, whatever its resolution, demonstrates that
            it  is far from a  foregone conclusion that  a demand against
            Barlou constituted  a demand against  the United States.   As
            the district court observed,  a sum certain should  have been
            demanded  by   Coska  from   the  United  States   with  some
            specificity, irrespective of demands sent to joint or several
            or other tortfeasors.  

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                      Coska claims that  affirming the  dismissal of  her

            claim would  allow "mere technicalities" to  bar an otherwise

            well-made  claim.    All  of  the  information  necessary  to

            investigate  the claim,  Coska argues,  was contained  in the

            demand packet and  letters.  It is  the information available

            rather  than  the  form in  which  it  is  presented that  is

            crucial. See,  e.g., Corte-Real,  949 F.2d  at 486; see  also
                     ___   ____  __________                     ___  ____

            Santiago-Ramirez,  984 F.2d at  19 n.2.   However,  there was
            ________________

            essential information missing from the packet and the letters

            -- namely, the amount of damages being sought from the United

            States.    Cf.  Santiago-Ramirez,  984  F.2d  at  19  (notice
                       ___  ________________

            requirement  of 28  U.S.C.    2675  is  satisfied when  claim

            includes sufficient information to  investigate claim and the

            amount of damages sought).8   Had the plaintiff included that

            amount in  any  of  the  correspondence or  even  returned  a

            completed SF-95, which includes boxes for personal injury and

            total damages,  the situation  may have produced  a different

            outcome.  See, e.g., Corte-Real, 949 F.2d at 486-87.  This is
                      ___  ____  __________

            not a case of exalting form over substance, nor is  it a case

            of "bureaucratic overkill."  Cf. id. at 486.
                                         ___ ___

                                
            ____________________

            8.  We  reject  Coska's  argument  that  the  district  court
            effectively  merged the  statutory notice  requirement of  28
            U.S.C.    2675 and the presentment requirement of 28 C.F.R.  
            14.2(a).  This is a matter of subject matter jurisdiction.  A
            federal court has no jurisdiction to entertain a suit against
            the  United  States  unless  a  claimant  has  presented,  in
            writing,  a claim stating a sum certain.  See Corte-Real, 949
                                                      ___ __________
            F.2d  at 485; Gonzalez-Bernal v. United States, 907 F.2d 246,
                          _______________    _____________
            248 (1st Cir. 1990).

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                      Lastly,   Coska  argues  that  the  district  court

            impermissibly  relied on  the government's  repeated requests

            for  a  sum   certain  made  after  the   expiration  of  the

            limitations  period  in  coming  to its  decision.    Without

            addressing whether  Coska waived this argument,  we find that

            even without  the consideration of  the one  to two  requests

            made  after  the  limitations period  passed,  Coska's  claim

            fails.  The district court's  finding hardly "rested" on  the

            requests made after the  limitations period; it observed only

            that  the  government  gave  Coska  adequate  notice  of  the

            shortcomings  of  her  submissions  and  that  "perhaps"  the

            outcome would be different had such notice not been given. 

                        Affirmed.
                        Affirmed
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